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                          IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF DELAWARE


  ACUITY BRANDS LIGHTING, INC.,                     )
                                                    )   C.A. No. 1:19-2207-MN
             Plaintiff,                             )
                                                    )   JURY TRIAL DEMANDED
                  v.                                )
                                                    )
  ULTRAVISION TECHNOLOGIES, LLC,                    )
                                                    )
             Defendant.                             )
                                                    )
                                                    )

   DEFENDANT AND COUNTERCLAIM-PLAINTIFF ULTRAVISION TECHNOLOGIES
            LLC’S NOTICE OF REDUCTION OF ASSERTED CLAIMS

       Pursuant to the Paragraph 7(e) of the Court’s July 28, 2020 Scheduling Order (D.I. 36),

Defendant and Counterclaim-Plaintiff Ultravision Technologies LLC (“Ultravision”) hereby

provides notice of its reduction of asserted claims against Plaintiff and Counterclaim-Defendant

Acuity Brands Lighting, Inc. (“Acuity”). Ultravision hereby narrows the claims asserted against

Acuity in this matter to the following:

       1. U.S. Patent No. 8,870,410: Claims 1, 5, 6, 8, 9, 10, 11, 14, 15, 20;

       2. U.S. Patent No. 8,870,413: Claims 1, 3, 4, 7, 10, 11, 12, 13, 14, 15;

       3. U.S. Patent No. 9,947,248: Claims 1, 3, 4, 7, 8, 10, 11, 12, 14, 16;

       4. U.S. Patent No. 9,734,738: Claims 1, 3, 5, 6, 7, 10, 11, 12, 13, 17; and

       5. U.S. Patent No. 10,223,946: Claims 1, 3, 5, 6, 12, 13, 16, 21, 24, 29.




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       Ultravision previously served infringement contentions for the above-identified claims.

This election of claims is made pursuant to the Scheduling Order and is not a concession or

admission that Acuity is entitled to any judgment regarding the claims previously asserted but

not elected.

 Dated: January 15, 2021                            BAYARD, P.A.

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